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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

 CHARLES MEYERS,                                )
                                                )
                        Plaintiff,              )        3:19-cv-00512
                                                )
        v.                                      )
                                                )
 TRANS UNION, LLC,                              )
 EXPERIAN INFORMATION                           )
 SOLUTIONS, INC., and                           )
 EQUIFAX INFORMATION                            )
 SERVICES LLC,                                  )
                                                )
                        Defendants.             )

                                            COMPLAINT

        NOW COMES the Plaintiff, CHARLES MEYERS, by and through his attorneys,

 SMITHMARCO, P.C., and for his complaint against Defendants, TRANS UNION, LLC,

 EXPERIAN INFORMATION SOLUTIONS, INC., and EQUIFAX INFORMATION SERVICES

 LLC, Plaintiff states as follows:

                                 I.        PRELIMINARY STATEMENT

        1.      This is an action for actual and statutory damages for violations of the Fair Credit

 Reporting Act (hereinafter “FCRA”), 15 U.S.C. §1681, et. seq.

                                     II.    JURISDICTION & VENUE

        2.       Jurisdiction arises under the Fair Credit Reporting Act 15 U.S.C. §1681, et. seq.,

 and pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1337.

        3.      Venue is proper in this district pursuant to 28 U.S.C. §1391(b).




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                                            III.    PARTIES

        4.      CHARLES MEYERS, (hereinafter, “Plaintiff”) is an individual who was at all

 relevant times residing in the City of Elkhart, County of Elkhart, State of Indiana.

        5.      At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

 U.S.C. §1692(a)(3) and 15 U.S.C. §1681a(c).

        6.      TRANS UNION, LLC, (hereinafter, “Trans Union”), is a business entity that

 regularly conducts business throughout every state and county in the United States and as a

 corporation that does business in the state of Indiana, is a citizen of the state of Indiana.

        7.      At all relevant times Trans Union was a “person” as that term is defined by 15

 U.S.C. §1681a(b).

        8.      At all relevant times Trans Union was a “consumer reporting agency” as that term

 is defined by 15 U.S.C. §1681a(f).c

        9.      EXPERIAN INFORMATION SOLUTIONS, INC., (hereinafter, “Experian”), is a

 business entity that regularly conducts business throughout every state and county in the United

 States and as a corporation that does business in the state of Indiana, is a citizen of the state of

 Indiana.

        10.     At all relevant times Experian was a “person” as that term is defined by 15 U.S.C.

 §1681a(b).

        11.     At all relevant times Experian was a “consumer reporting agency” as that term is

 defined by 15 U.S.C. §1681a(f).

        12.     EQUIFAX INFORMATION SERVICES LLC, (hereinafter, “Equifax”), is a

 business entity that regularly conducts business throughout every state and county in the United




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 States and as a corporation that does business in the state of Indiana, is a citizen of the state of

 Indiana.

        13.     At all relevant times Equifax was a “person” as that term is defined by 15 U.S.C.

 §1681a(b).

        14.     At all relevant times Equifax was a “consumer reporting agency” as that term is

 defined by 15 U.S.C. §1681a(f).

                               IV.    FACTUAL ALLEGATIONS

        15.     Defendants sell millions of consumer reports (often called “credit reports” or

 “reports”) per day, and Defendants also sell credit scores.

        16.     Pursuant to the FCRA, Defendants must follow procedures which assure that the

 reports they sell meet the standard of “maximum possible accuracy.” 15 U.S.C. § 1681e(b).

        17.     Pursuant to the FCRA, Defendants must maintain reasonable procedures to assure

 that reports are sold only for legitimate “permissible purposes.” 15 U.S.C. §§ 1681e(a) & 1681b.

        18.     Defendants place a “deceased” notation or marking on reports when they are

 advised from any of their many data furnishing sources that a given consumer is deceased.

        19.     The furnishing sources identify “deceased” consumers by marking the “status” of

 such consumer’s responsibility for any subject account with an “X” code in the ECOA field of an

 electronic data input format used in the credit reporting industry, known as Metro or Metro 2.

        20.     Defendants do not request or require a death certificate from any of their data

 sources which advise that a consumer is “deceased” before placing a “deceased” mark on that

 consumer’s report.




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        21.     Defendants do not request or require any proof from any data source which advises

 that a consumer is “deceased” showing that the consumer is, in fact, deceased before placing a

 “deceased” mark on that consumer’s report.

        22.     Defendants do not independently verify with any source that a consumer is, in fact,

 deceased before placing a “deceased” mark on that consumer’s report.

        23.     A deceased notation is a very unusual marking upon a credit file or credit report.

        24.     In some cases, in order to assure accuracy, Defendants send letters and/or other

 communications to consumers when certain information that may be considered suspicious or

 unreliable is furnished about said consumers to be placed in their consumer credit files, such as in

 cases where consumers have a freeze or fraud alert on their credit report, or in accordance with

 certain state laws. But Defendants have no similar procedure to notify the consumers (such as a

 next of kin or executor or administrator of the consumer’s estate) when an “X” deceased code is

 furnished to Defendants to be placed in said consumer’s credit file or report.

        25.     Defendants regularly receive the “Death Master File” from the Social Security

 Administration listing by social security number those consumers that the government believes to

 be deceased. But Defendants do not cross-reference the “X” code received from furnishers with

 the Death Master File in order to determine whether any given consumer reported as deceased via

 a furnishing source is also on the Death Master File before selling a credit report about said

 consumer, or at any time.

        26.     Defendants will only use the Death Master File to sell additional products for an

 additional fee which are designed to show whether a given consumer is truly deceased.




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        27.     Indeed, Defendants employ no procedures at all which assure that a consumer with

 a “deceased” mark on his/her report is, in fact, deceased before placing the “deceased” mark on

 that consumer’s report and selling that report.

        28.     Even in instances where other data on the face of the consumer’s report indicates

 that he/she is not deceased, Defendants employ no procedures which assure that a consumer with

 a “deceased” mark on his/her report is, in fact, deceased before placing the “deceased” mark on

 that consumer’s report.

        29.     Even in instances where the purportedly deceased consumer communicates directly

 with Defendants, Defendants employ no procedures which assure that a consumer with a

 “deceased” mark on his/her report is, in fact, deceased before placing the “deceased” mark on that

 consumer’s report.

        30.     Once a “deceased” mark is placed upon a consumer’s report, Defendants will not

 calculate and will not provide a credit score for that consumer.

        31.     Nevertheless, Defendants routinely sell to third parties credit reports for persons

 with a “deceased” mark on their reports with no credit score, despite a request by the purchaser of

 the report for a credit score for that consumer.

        32.     Upon Defendants’ reports with a “deceased” mark sold to third parties Defendants

 do not calculate or provide a credit score for that consumer.

        33.     Defendants know that third party credit issuers use a credit score in order to process

 a given credit application.

        34.     Defendants know that many third party credit issuers require a credit score in order

 to process a given credit application.




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        35.     Defendants know that consumers without credit scores are unable to secure any

 credit from most credit issuers.

        36.     Defendants know that living consumers are turned down for credit specifically

 because Defendants are reporting them as “deceased” and without a credit score.

        37.     Defendants have been put on notice for years through consumer disputes and

 lawsuits that living consumers are turned down for credit specifically because Defendants are

 reporting them as “deceased” and without a credit score.

        38.     Defendants have received and documented thousands of disputes from consumers

 complaining that their credit report had them erroneously marked as “deceased.”

        39.     Defendants know that thousands of consumers are erroneously marked as

 “deceased” on their credit reports via an erroneous furnishing of the “X” code, but said consumers

 are not on the Death Master File and are, in fact, alive.

        40.     Nevertheless, Defendants employ no procedures which assure that a consumer

 marked as “deceased” on one of Defendants’ reports is, in fact, deceased.

        41.     Even consumers who dispute the erroneous “deceased” status on their credit reports

 continue to be erroneously marked as deceased unless the furnishing source which provided the

 erroneous “X” code in the first instance decides to change the code.

        42.     Defendants have no independent procedure to change an erroneous deceased status

 on their own and will merely parrot their furnishing source in the case of a reinvestigation into the

 accuracy of the deceased status upon a consumer’s report, which reinvestigation was triggered by

 a consumer dispute.

        43.     Nor do Defendants employ any procedures to limit or stop the furnishing of reports

 to third parties for consumers which they have marked as “deceased” under any circumstances.



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        44.     For years after a consumer’s actual death, Defendants will continue to sell credit

 reports about that consumer.

        45.     Defendants will only remove a deceased consumer’s file from their credit reporting

 database when they are no longer valuable to Defendants – meaning that nobody is continuing to

 buy those reports from the Defendants.

        46.     Defendants charge third parties a fee for reports with a mark that a consumer is

 deceased (“reports on the deceased”) as they would for any other report.

        47.     Defendants profit from the sale of reports on the deceased.

        48.     Defendants have in their credit reporting database hundreds of thousands of

 “deceased” tradelines corresponding to distinct credit files for individual consumers that they have

 marked as “deceased.”

        49.     Defendants know that truly deceased consumers do not apply for credit.

        50.     Defendants know that the credit information and reports of truly deceased persons

 are used by criminals to commit identity theft or credit fraud. Indeed, identity theft using the

 personal identifying information of deceased consumers is known to Defendants to be a common

 and major source of identity theft.

        51.     Defendants know that identity theft and credit fraud are serious and widespread

 problems in our society.

        52.     Defendants warn the relatives of truly deceased consumers that identity theft can

 be committed using the credit reports and information of the deceased, and requires relatives to

 provide a death certificate or executorship papers, among other proofs, before accessing the

 deceased consumer’s credit information or report.




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        53.       Defendants have no similar death certificate, executorship paper, or any other proof

 requirements for their data sources which report a consumer as deceased or for the buyers of their

 reports which access the purportedly deceased consumer’s information.

        54.       Indeed, Defendants sell reports on the deceased to third parties in an automated

 fashion and without any specific or general certification that could reasonably explain a

 “permissible purpose” for purchasing or using a (supposedly) deceased consumer’s credit history

 and/or report.

        55.       For consumers who are deceased, there exists no permissible purpose under the

 FCRA for Defendants to ever sell their credit reports, absent a court order.

        56.       Defendants know that such reports contain a vast amount of personal identifying

 and credit account information on the supposedly deceased consumer, information that can be used

 to commit identity theft or for other fraudulent purposes.

                    COUNT I: CHARLES MEYERS V. TRANS UNION, LLC

        57.       Plaintiff re-alleges and incorporates by reference each of the preceding paragraphs

 as though fully set forth herein.

        58.       At all relevant times, credit reports as alleged in this pleading are “consumer

 reports” as that term is defined by 15 U.S.C. §1681a(d).

        59.       Trans Union has been reporting derogatory and inaccurate statements and

 information relating to Plaintiff and Plaintiff’s credit history to third parties (hereinafter the

 “inaccurate information”).

        60.       The inaccurate information of which Plaintiff complains is at least one account, or

 trade-line, for which the furnisher reporting such information has reported that Plaintiff is




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 deceased. Upon information and belief, Frontier Communications is one such furnisher that has

 reported to Trans Union that Plaintiff is deceased.

        61.     Plaintiff is alive and well.

        62.     Plaintiff is not deceased.

        63.     Despite the foregoing, Trans Union has disseminated credit reports and/or

 information that Plaintiff is deceased.

        64.     Not surprisingly, the fact that Trans Union is reporting Plaintiff as deceased has

 impeded Plaintiff’s ability to obtain new credit.

        65.     The inaccurate information negatively reflects upon Plaintiff, Plaintiff’s credit

 repayment history, Plaintiff’s financial responsibility as a debtor and Plaintiff’s credit worthiness.

        66.     Credit reports have been and continue to be disseminated to various persons and

 credit grantors, both known and unknown.

        67.     Plaintiff has been damaged, and continues to be damaged, in the following ways:

                a.      Denial of attempts to obtain financing;

                b.      Emotional distress and mental anguish associated with having incorrect
                        derogatory personal information transmitted about Plaintiff to other people
                        both known and unknown;

                c.      Decreased credit score which may result in inability to obtain credit on
                        future attempts.


        68.     Plaintiff’s credit report and file have been obtained from Trans Union and have

 been reviewed by prospective credit grantors and extenders of credit, and the inaccurate

 information (i.e., that Plaintiff is ostensibly deceased) has been a substantial factor in precluding

 Plaintiff from receiving different credit offers and opportunities, known and unknown, and from




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  receiving the most favorable terms in financing and interest rates for credit offers that were

  ultimately made.

         69.     As a result of Trans Union’s conduct, Plaintiff has suffered actual damages in the

  forms of lost credit opportunities, harm to credit reputation and credit score, and emotional distress.

         70.     At all times pertinent hereto, Trans Union was acting by and through its agents,

  servants and/or employees who were acting within the course and scope of their agency or

  employment, and under the direct supervision and control of Trans Union.

         71.     At all times pertinent hereto, the conduct of Trans Union, as well as that of its

  agents, servants and/or employees, was malicious, intentional, willful, reckless, and in grossly

  negligent disregard for federal and state laws and the rights of Plaintiff herein.

         72.     Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Trans Union is liable to

  Plaintiff for engaging in the following conduct:

                 a. willfully and negligently failing to employ and follow reasonable procedures to
                    assure maximum possible accuracy of Plaintiff’s credit report, information and
                    file, in violation of 15 U.S.C. §1681e(b).

         73.     The conduct of Trans Union was a direct and proximate cause, as well as a

  substantial factor, in bringing about the injuries, damages and harm to Plaintiff that are outlined

  more fully above and, as a result, Trans Union is liable to Plaintiff for the full amount of statutory,

  actual and punitive damages, along with the attorneys’ fees and the costs of litigation, as well as

  such further relief, as may be permitted by law.

         WHEREFORE, Plaintiff, CHARLES MEYERS, by and through his attorneys, respectfully

  prays for Judgment to be entered in favor of Plaintiff and against TRANS UNION, LLC as follows:

                 a.      All actual compensatory damages suffered;

                 b.      Statutory damages of $1,000.00;



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                   c.      Punitive damages;

                   d.      Plaintiff’s attorneys’ fees and costs; and,

                   e.      Any other relief deemed appropriate by this Honorable Court.

    COUNT II: CHARLES MEYERS V. EXPERIAN INFORMATION SOLUTIONS, INC.

          74.      Plaintiff re-alleges and incorporates by reference paragraphs 1-56 of this complaint

  as though fully set forth herein.

          75.      At all relevant times, credit reports as alleged in this pleading are “consumer

  reports” as that term is defined by 15 U.S.C. §1681a(d).

          76.      Experian has been reporting derogatory and inaccurate statements and information

  relating to Plaintiff and Plaintiff’s credit history to third parties (hereinafter the “inaccurate

  information”).

          77.      The inaccurate information of which Plaintiff complains is at least one account, or

  trade-line, for which the furnisher reporting such information has reported that Plaintiff is

  deceased. Upon information and belief, Frontier Communications is one such furnisher that has

  reported to E that Plaintiff is deceased.

          78.      Plaintiff is alive and well.

          79.      Plaintiff is not deceased.

          80.      Despite the foregoing, Experian has disseminated credit reports and/or information

  that Plaintiff is deceased.

          81.      Not surprisingly, the fact that Experian is reporting Plaintiff as deceased has

  impeded Plaintiff’s ability to obtain new credit.

          82.      The inaccurate information negatively reflects upon Plaintiff, Plaintiff’s credit

  repayment history, Plaintiff’s financial responsibility as a debtor and Plaintiff’s credit worthiness.



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         83.     Credit reports have been and continue to be disseminated to various persons and

  credit grantors, both known and unknown.

         84.     Plaintiff has been damaged, and continues to be damaged, in the following ways:

                 a.      Denial of attempts to obtain financing;

                 b.      Emotional distress and mental anguish associated with having incorrect
                         derogatory personal information transmitted about Plaintiff to other people
                         both known and unknown;

                 c.      Decreased credit score which may result in inability to obtain credit on
                         future attempts.

         85.     Plaintiff’s credit report and file have been obtained from Experian and have been

  reviewed by prospective credit grantors and extenders of credit, and the inaccurate information

  (i.e., that Plaintiff is ostensibly deceased) has been a substantial factor in precluding Plaintiff from

  receiving different credit offers and opportunities, known and unknown, and from receiving the

  most favorable terms in financing and interest rates for credit offers that were ultimately made.

         86.     As a result of Experian’s conduct, Plaintiff has suffered actual damages in the forms

  of lost credit opportunities, harm to credit reputation and credit score, and emotional distress.

         87.     At all times pertinent hereto, Experian was acting by and through its agents,

  servants and/or employees who were acting within the course and scope of their agency or

  employment, and under the direct supervision and control of Experian.

         88.     At all times pertinent hereto, the conduct of Experian, as well as that of its agents,

  servants and/or employees, was malicious, intentional, willful, reckless, and in grossly negligent

  disregard for federal and state laws and the rights of Plaintiff herein.

         89.     Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Experian is liable to Plaintiff

  for engaging in the following conduct:




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                   b. willfully and negligently failing to employ and follow reasonable procedures to
                      assure maximum possible accuracy of Plaintiff’s credit report, information and
                      file, in violation of 15 U.S.C. §1681e(b).

         90.       The conduct of Experian was a direct and proximate cause, as well as a substantial

  factor, in bringing about the injuries, damages and harm to Plaintiff that are outlined more fully

  above and, as a result, Experian is liable to Plaintiff for the full amount of statutory, actual and

  punitive damages, along with the attorneys’ fees and the costs of litigation, as well as such further

  relief, as may be permitted by law.

         WHEREFORE, Plaintiff, CHARLES MEYERS, by and through his attorneys, respectfully

  prays for Judgment to be entered in favor of Plaintiff and against EXPERIAN INFORMATION

  SOLUTIONS, INC. as follows:

                   a.     All actual compensatory damages suffered;

                   b.     Statutory damages of $1,000.00;

                   c.     Punitive damages;

                   d.     Plaintiff’s attorneys’ fees and costs; and,

                   e.     Any other relief deemed appropriate by this Honorable Court.

      COUNT III: CHARLES MEYERS V. EQUIFAX INFORMATION SERVICES LLC

         91.       Plaintiff re-alleges and incorporates by reference paragraphs 1-56 of this complaint

  as though fully set forth herein.

         92.       At all relevant times, credit reports as alleged in this pleading are “consumer

  reports” as that term is defined by 15 U.S.C. §1681a(d).

         93.       Equifax has been reporting derogatory and inaccurate statements and information

  relating to Plaintiff and Plaintiff’s credit history to third parties (hereinafter the “inaccurate

  information”).



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          94.     The inaccurate information of which Plaintiff complains is at least one account, or

  trade-line, for which the furnisher reporting such information has reported that Plaintiff is

  deceased. Upon information and belief, Frontier Communications is one such furnisher that has

  reported to E that Plaintiff is deceased.

          95.     Plaintiff is alive and well.

          96.     Plaintiff is not deceased.

          97.     Despite the foregoing, Equifax has disseminated credit reports and/or information

  that Plaintiff is deceased.

          98.     Not surprisingly, the fact that Equifax is reporting Plaintiff as deceased has impeded

  Plaintiff’s ability to obtain new credit.

          99.     The inaccurate information negatively reflects upon Plaintiff, Plaintiff’s credit

  repayment history, Plaintiff’s financial responsibility as a debtor and Plaintiff’s credit worthiness.

          100.    Credit reports have been and continue to be disseminated to various persons and

  credit grantors, both known and unknown.

          101.    Plaintiff has been damaged, and continues to be damaged, in the following ways:

                  a.      Denial of attempts to obtain financing;

                  b.      Emotional distress and mental anguish associated with having incorrect
                          derogatory personal information transmitted about Plaintiff to other people
                          both known and unknown;

                  c.      Decreased credit score which may result in inability to obtain credit on
                          future attempts.

          102.    Plaintiff’s credit report and file have been obtained from Equifax and have been

  reviewed by prospective credit grantors and extenders of credit, and the inaccurate information

  (i.e., that Plaintiff is ostensibly deceased) has been a substantial factor in precluding Plaintiff from




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  receiving different credit offers and opportunities, known and unknown, and from receiving the

  most favorable terms in financing and interest rates for credit offers that were ultimately made.

         103.    As a result of Equifax’s conduct, Plaintiff has suffered actual damages in the forms

  of lost credit opportunities, harm to credit reputation and credit score, and emotional distress.

         104.    At all times pertinent hereto, Equifax was acting by and through its agents, servants

  and/or employees who were acting within the course and scope of their agency or employment,

  and under the direct supervision and control of Equifax.

         105.    At all times pertinent hereto, the conduct of Equifax, as well as that of its agents,

  servants and/or employees, was malicious, intentional, willful, reckless, and in grossly negligent

  disregard for federal and state laws and the rights of Plaintiff herein.

         106.    Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Equifax is liable to Plaintiff

  for engaging in the following conduct:

                 c. willfully and negligently failing to employ and follow reasonable procedures to
                    assure maximum possible accuracy of Plaintiff’s credit report, information and
                    file, in violation of 15 U.S.C. §1681e(b).

         107.    The conduct of Equifax was a direct and proximate cause, as well as a substantial

  factor, in bringing about the injuries, damages and harm to Plaintiff that are outlined more fully

  above and, as a result, Equifax is liable to Plaintiff for the full amount of statutory, actual and

  punitive damages, along with the attorneys’ fees and the costs of litigation, as well as such further

  relief, as may be permitted by law.

         WHEREFORE, Plaintiff, CHARLES MEYERS, by and through his attorneys, respectfully

  prays for Judgment to be entered in favor of Plaintiff and against EQUIFAX INFORMATION

  SERVICES LLC as follows:

                 a.      All actual compensatory damages suffered;



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               b.      Statutory damages of $1,000.00;

               c.      Punitive damages;

               d.      Plaintiff’s attorneys’ fees and costs; and,

               e.      Any other relief deemed appropriate by this Honorable Court.

                                      V.      JURY DEMAND

        108.   Plaintiff hereby demands a trial by jury on all issues so triable.




                                                              Respectfully submitted,
                                                              CHARLES MEYERS


                                                        By:    s/ David M. Marco
                                                               Attorney for Plaintiff

     Dated: July 3, 2019

     David M. Marco
     IL Bar No. 6273315/FL Bar No. 125266
     SMITHMARCO, P.C.
     55 W. Monroe Street, Suite 1200
     Chicago, IL 60603
     Telephone: (312) 546-6539
     Facsimile:    (888) 418-1277
     E-Mail:       dmarco@smithmarco.com




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